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      Exhibit D
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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE PLAYERS’
CONCUSSION INJURY LITIGATION

                                                               No. 2:12-md-02323-AB
Kevin Turner and Shawn Wooden, on behalf of themselves
and others similarly situated,                                 MDL No. 2323
                                   Plaintiffs,                 Hon. Anita B. Brody
                             v.

National Football League and NFL Properties LLC,               CIVIL ACTION NO: _______
successor-in-interest to NFL Properties, Inc.,
                                   Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS




                   DECLARATION OF MEDIATOR AND FORMER
            UNITED STATES DISTRICT COURT JUDGE LAYN R. PHILLIPS
            IN SUPPORT OF PRELIMINARY APPROVAL OF SETTLEMENT


       Layn R. Phillips declares as follows:

       1.     I am the Court-appointed mediator in this action and a former United States

District Court Judge.   I submit this declaration in support of preliminary approval of the

proposed class action settlement between the proposed Plaintiff Class and defendants NFL and

NFL Properties LLC (collectively, the “NFL Parties”).

       2.     At the request of the Court, I conducted an extensive mediation over the course of

the last five months that produced the proposed settlement now before the Court for preliminary

approval. The parties negotiated this settlement under my supervision. The talks were vigorous,
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at arm’s length, and in good faith. Based on my extensive experience as a mediator and former

judge, my frequent and detailed discussions with the parties, and the information made available

to me during the mediation, I believe that the $760 million proposed settlement (plus attorneys’

fees and reasonable costs) represents a fair and reasonable settlement given the substantial risks

involved for both sides. Without waiver of the mediation privilege, I describe below the reasons

for my view.

Qualifications and Experience

       3.      I am a partner at Irell & Manella LLP. I am a member of the bars of Oklahoma,

Texas, California and the District of Columbia, as well as the United States Courts of Appeals

for the Ninth and Tenth Circuits. I am the former United States Attorney for the Northern

District of Oklahoma and a former United States District Court Judge for the Western District of

Oklahoma. I founded the Irell & Manella Alternative Dispute Resolution Center, where I have

headed the firm’s ADR practice since 1991.

       4.      I have successfully mediated complex commercial cases, including hundreds of

class actions, for over twenty years. Before that, as a federal judge, I presided over hundreds of

settlement conferences in complex business disputes and class actions. I have been appointed

Special Master by numerous federal courts in complex civil proceedings. It is not uncommon for

me to settle billions of dollars of disputes on an annual basis. It is my understanding that I was

nominated by the parties and appointed by the Court to mediate this important matter in part

because of my extensive experience resolving complex, high-visibility disputes of this kind.

The Mediation Process

       5.      Under my supervision, beginning immediately upon my appointment by the Court

in July of this year, the parties engaged in arm’s-length, hard-fought negotiations. As is my




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practice, I conducted multiple face-to-face mediation sessions with both sides present, as well as

many separate caucus sessions where I met only with one side or the other. All of these in-

person mediation sessions were conducted in New York City. However, I also engaged in

considerable telephonic follow-up work with all of the parties involved. In addition, counsel for

the parties conducted extensive negotiations outside my presence pursuant to requests and

directions that I gave to them. I dedicated more than twelve full days to mediate this matter in

addition to the considerable hours I invested in discussions with the parties outside these formal

sessions.

       6.      At all times, the parties aggressively asserted their respective positions on a host

of issues. On occasion, the negotiations were contentious (although both sides were always

professional). Because of the schedule that the Court imposed and the number and complexity of

issues to be resolved, members of my mediation team and I sometimes multi-tracked mediation

efforts by separately addressing different sets of issues with various counsel and the parties’

experts during in-person mediation sessions in New York City, as well as during the telephonic

follow-up process.     On almost every day between my appointment as mediator and the

announcement of the settlement on August 29, the parties and I discussed issues relating to

possible settlement.

       7.      Plaintiffs and the NFL Parties each were represented by highly experienced,

effective and aggressive counsel. I was satisfied throughout the negotiations that the parties’

positions were thoroughly explored and advanced. Multiple law firms and individual counsel

were involved on behalf of both sides. These counsel presented an impressive array of legal

experience, talent, and expertise. Moreover, in order to ensure the adequate and unconflicted

representation of all of the proposed class members, Plaintiffs agreed during the negotiations to




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create two proposed separate subclasses, each represented by separate counsel.          Generally

speaking, one subclass is composed of retired NFL players who have diagnosed cognitive

impairments; the other subclass is composed of retired players without a diagnosis of cognitive

impairment. Plaintiffs believed—and I agreed—that having these two separate subclasses would

ensure that any final resolution did not favor retired players who are currently suffering from

compensable injuries from those who have not been diagnosed and who may not develop

compensable injuries for years to come, if ever.

       8.      In addition to highly experienced counsel, both Plaintiffs and the NFL Parties

retained various medical and actuarial/economics experts to assist them in the settlement

negotiations. The medical experts advised the parties on the multiplicity of medical definition

issues and other medical aspects of the settlement.       The parties’ economists and actuaries

assisted in modeling the likely disease incidence and adequacy of the funding provisions and

benefit levels contained in the proposed settlement. I met personally with certain of the parties’

experts during the mediation to satisfy myself that the parties were being expertly advised and

were considering the relevant issues. The parties’ experts also answered many of the questions I

had about how the proposed settlement would operate, as well as any underlying considerations

they had made and their analysis and conclusions. It was clear to me that both sides had experts

that were extremely well-versed in the medical literature and issues relevant to arriving at a fair

settlement that would function efficiently over the course of the settlement period.

       9.      During the course of the mediation and at my request, the parties submitted

various mediation materials to me and made multiple presentations regarding their positions on

various factual and legal issues. I was assisted in my work and analysis by colleagues at my law

firm, who independently reviewed the materials and the relevant law. During the mediation




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sessions, there were extensive discussions of the strengths and weaknesses of the parties’ various

positions and of possible settlement structures.

       10.     As would be expected, the proposed terms of the settlement changed substantially

over the course of time. On numerous occasions, although the parties shared a common goal,

they proposed very different visions of how to achieve that goal. I worked constructively with

counsel to offer possible compromises and solutions.

       11.     At all times, Plaintiffs’ counsel zealously represented the proposed class and

subclasses. They regularly and passionately expressed the need to protect the interests of the

retirees and their families and fought hard for the greatest possible benefits in the context of a

settlement that the NFL Parties could accept. It was evident throughout the mediation process

that Plaintiffs’ counsel were prepared to litigate and try these cases, and face the risk of losing

with no chance to recover for their labor or their expenses, if they were not able to achieve a fair

and reasonable settlement result for the proposed class.

       12.     At the same time, Plaintiffs’ counsel recognized—correctly in my judgment—the

significant legal and factual hurdles Plaintiffs faced if they proceeded with the litigation. First

and foremost, a litigation of this size and complexity can take many years to litigate. By

resolving the litigation at this time, Plaintiffs’ counsel, in part, sought to compensate impaired

retired NFL players who need money now in order to address their medical conditions. They

also ensured that compensation and medical testing will be available for retired NFL players who

are not impaired at present, but may become so in the future.

       13.     Second, Plaintiffs faced the serious risk that the Court would find that their claims

were preempted, in whole or in part, by federal labor law and under the various Collective

Bargaining Agreements. I reviewed the parties’ briefs on the NFL Parties’ motions to dismiss




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and the transcript of the oral argument before this Court. Both sides made compelling arguments

for their clients. Plaintiffs’ counsel recognized that the claims of many members of the class

may have been dismissed outright if the NFL Parties prevailed on the motions to dismiss, thereby

impairing the ability of many Plaintiffs to proceed in the litigation. Plaintiffs’ counsel provided a

strong response to the NFL Parties’ motion, relying heavily on Kline v. Security Guards, Inc.,

386 F.3d 246 (3d Cir. 2004), a Third Circuit case that was discussed extensively at the hearing

before this Court. Thus, the NFL Parties also faced risk that their motions would be denied, in

whole or in part, and that the claims of many players would proceed through litigation. Although

the parties did not know (and still do not know) the outcome of the motions to dismiss, the

significant risks for both sides squarely presented before the Court in the motion papers hastened

the parties’ settlement efforts.

        14.     Third, Plaintiffs also faced significant hurdles in proving causation, i.e., that the

players suffered cognizable injuries as a result of concussions and sub-concussive hits they

experienced while playing in the NFL. There is little doubt that both general and case-specific

causation would be hotly contested if these matters were litigated, and Plaintiffs faced a

significant risk that they would not be able to prevail in the end. In particular, Plaintiffs would

likely be faced with having to prove that their alleged injuries were caused by their NFL careers

rather than by some cause unrelated to football or by prior football experience in middle school,

high school and college. Many members of the proposed class had short NFL careers and played

substantially more football before joining the NFL, which made this burden all the more

challenging. There are also many members of the proposed class who developed their symptoms

later in life and may therefore have had difficulty proving that their alleged injuries are not a

result of the normal aging process. More broadly, the science regarding concussions and sub-




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concussive hits and cognitive impairment is still evolving, which makes it more difficult to prove

negligence or fraud the earlier a player played. The research is often contradictory, thereby

creating additional hurdles for a successful prosecution of Plaintiffs’ claims.

       15.     Plaintiffs faced other legal hurdles as well, including, but not limited to, various

statute of limitations arguments and the assertion of the “assumption of risk” defense based on

the argument that the retired NFL players knew at the time they played that football could be a

dangerous activity and that the players assumed that risk when they chose to play.

       16.     Like Plaintiffs, the NFL Parties also faced great risks if they chose to litigate these

cases. There was a significant risk that the Court would not accept, in whole or in part, the NFL

Parties’ preemption defense, which in turn would leave much of the case intact. The same was

true of the NFL Parties’ other legal defenses of statute of limitations and assumption of risk. If

the NFL Parties did not succeed on dismissing all of these cases as a matter of law, they faced

years of very expensive discovery and potentially hundreds of trials in state and federal courts

around the country. Among Plaintiffs’ many claims and allegations, the NFL Parties faced the

risks of litigating issues relating to helmet safety standards and rules of football play. Each

potential lawsuit carried with it the risk of a significant damage verdict and a negative precedent

that could affect all cases that followed.

       17.     In short, both sides faced substantial risks if they chose to litigate these matters

and tremendous benefits if they could fairly resolve their differences.

The Fairness and Adequacy of the Proposed Settlement

       18.     The negotiated settlement produced by the mediation process, as reflected in the

parties’ proposed settlement agreement, represents a thoughtful, deliberative, extraordinary and

comprehensive settlement that will benefit thousands of NFL retirees and their families. If the




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settlement is approved, NFL retirees immediately will be entitled to an innovative baseline

testing program and, depending on their diagnosis, certain supplemental medical benefits. In

addition, players that are diagnosed with serious forms of dementia, ALS, Alzheimer’s Disease,

Parkinson’s Disease, and certain instances of CTE will be eligible to receive cash awards of up

to $5 million, depending on the disease, the age of the player at diagnosis, the length of the

player’s career playing in the NFL and certain associated leagues and certain other relevant

factors. The benefits will be made available promptly after the Effective Date of the settlement

and will remain available for sixty-five years, ensuring that players who appear healthy today but

develop these kinds of medical issues in the future will have the comfort of knowing that

compensation is available through the settlement fund. The settlement also allocates substantial

funding for education to advance the safety of the sport, including in youth football.     At the

same time, the settlement protects the rights of retired NFL players to continue to benefit from

benefits that have been collectively bargained for between the NFL and the NFL Players

Association, including pension benefits, and medical and disability benefits such as the 88 Plan

and the Neuro-Cognitive Disability Benefit that was introduced in the 2011 Collective

Bargaining Agreement. Plaintiffs’ counsel fought hard to ensure that the retired NFL players

could continue to apply for these extensive benefits, and the NFL Parties agreed that they would

not enforce any release that had been signed by a class member in connection with applying for

the Neuro-Cognitive Disability Benefit when he seeks to take part in the settlement benefits.

       19.     Based upon my extensive experience in this case and other complex actions, I

believe that the settlement benefits provided to the class members as described above are fair and

reasonable in light of the parties’ claims and defenses, and the expense, uncertainty and time

inherent in litigating the retired players’ claims to judgment. In particular, it is my considered




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judgment that Plaintiffs would be unlikely to have obtained more money and benefits without

going through years of discovery and trial, where they would face substantial risks of loss due to

their inability to prove negligence or fraud on the part of the NFL Parties or judgments below

what they will receive in this proposed settlement. In addition, even after judgment, the parties

likely would have been engaged in years of appellate proceedings before any judgment would be

finalized.

       20.     Equally important, based on my review of the analyses conducted by the

independent economists or actuaries retained by the parties, I believe that the $760 million paid

by the NFL Parties for the settlement is fair and reasonable and will be sufficient to fund the

benefits to which the parties have agreed.       It is my understanding that Plaintiffs plan on

presenting a summary of their experts’ work in this area at the final settlement hearing.

       21.     Finally, I should note that the NFL Parties also have agreed not to object to an

award of attorneys’ fees and reasonable costs of up to $112.5 million in addition to the $760

million settlement. This is another significant benefit that Plaintiffs’ counsel obtained for the

proposed class, as compared to the vast majority of other class settlements where the attorneys’

fee and reasonable cost component is deducted from the common fund. Ultimately, the total

settlement, with attorneys’ fees and reasonable costs, will approach $900 million. This, in my

judgment, is an outstanding result for the class members.

Conclusion

       For all the reasons set forth above, the proposed settlement of these actions was the result

of a fair, vigorous, and arm’s-length mediated negotiation process. The settlement itself is, in

my judgment, fair and reasonable to the proposed class members, given the risks of these




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litigation
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support Plaintiffs’
        P           motion for preeliminary approval of thee proposed ssettlement.

       I declare that the foregoin
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                                              d correct.


Executed
       d this 3rd day
                    y of January
                               y 2014.

                                              _____________________________________
                                                     LA
                                                      AYN R. PHIL    LLIPS
                                              Former Uniited States D
                                                                    District Courtt Judge




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